972 F.2d 338
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Raymond W. COLEMAN, Plaintiff-Appellant,v.Mason WATERS, Warden of Maryland Correctional Institution atHagerstown, Maryland, Defendant-Appellee.
    No. 91-6134.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 31, 1991Decided:  August 13, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.
      Raymond W. Coleman, Appellant Pro Se.
      D.Md.
      AFFIRMED.
      Before PHILLIPS, WILKINSON, and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Raymond W. Coleman appeals from the district court's order dismissing his complaint as frivolous under 28 U.S.C. 1915(d) (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Coleman v. Waters, No. CA-91-2061-S (D. Md. Aug. 20, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    